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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF OREGON

STATE OF OREGON,

                                 Plaintiff,

                  V.                                           Case No. 6:23-CR-00330-MC


SAMUEL TROY LANDIS,


                                 Defendants.


                       ORDER TO RETAIN CUSTODY OF EXHIBITS

         IT IS ORDERED that at the conclusion of the trial, counsel for the parties retain custody

of their respective exhibits until such time as all need for the exhibits has terminated.


         Dated:    11/25/2024.


                                                 s/Michael J. McShane
                                               MICHAEL J. McSHANE
                                               UNITED STATES DISTRICT JUDGE


SO STIPULATED.

Dated:




ORDER TO RETAIN CUSTODY OF EXHIBITS
